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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF UTAH, CENTRAL DIVISION


 STATE OF UTAH, et al.,

         Plaintiffs,                            Case No. 2:24-cv-00438-DBB-DAO

    v.
                                                REPLY IN SUPPORT OF MOTION FOR
 DEB HAALAND, in her official capacity as       EXPEDITED CONSIDERATION
 the Secretary of the U.S. Department of the
 Interior, et al.,
                                                Judge David Barlow
         Defendants,                            Magistrate Judge Daphne Oberg

    and,

 SOUTHERN UTAH WILDERNESS
 ALLIANCE, et al.,

         Proposed Defendant-Intervenors.
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       Proposed Defendant-Intervenors Southern Utah Wilderness Alliance, Conservation

Lands Foundation, and The Wilderness Society (collectively, “SUWA Groups”) respectfully

submit this Reply in Support of their Motion for Expedited Consideration of their Motion to

Intervene. The SUWA Groups’ Motion for Expedited Consideration is warranted and should

be granted given that the Plaintiffs’ have moved the Court for an emergency injunction.

       The Plaintiffs filed their Complaint in the instant matter on June 18 and moved for a

Preliminary Injunction a little over three weeks later on July 11. The SUWA Groups notified

Plaintiffs’ counsel of their intention to move to intervene on July 23 – twelve days after the

Motion for Preliminary Injunction was filed. At that point, Plaintiffs asked the SUWA Groups to

wait for the Plaintiffs’ position on the Motion to Intervene until July 25, and were then told that

Plaintiffs would oppose the Motion. 1 The SUWA Groups then asked the Plaintiffs’ position on

expedited consideration of the Motion to Intervene, which the Plaintiffs also indicated they

would oppose. The SUWA Groups promptly filed their Motion to Intervene and Motion for

Expedited Consideration on July 25, and Plaintiffs filed their Opposition to the Motion to

Expedite on July 26.

        Expedited consideration (and briefing) of SUWA’s Motion to Intervene is simply the

cost of doing business in the context of the Court’s consideration of Plaintiffs’ motion for the

extraordinary remedy of an emergency injunction. And Tenth Circuit precedent is clear that the

SUWA Groups have a right to intervene in this case to defend their interests in the Bureau of

Land Management’s Public Lands Rule; the Rule that Plaintiffs seek to enjoin. See Motion to

Intervene and Memorandum in Support at 2-7 (Dkt. 28). After all, it is the Plaintiffs who are




1
  For their part, the Federal Defendants have taken no position on the SUWA Groups’ Motion to
Intervene and Motion for Expedited Consideration.
                                                 1
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seeking extraordinary relief in an expedited fashion, and the SUWA Groups notified Plaintiffs of

their intent to intervene less than two weeks after the Motion for Preliminary Injunction was

filed.

         The SUWA Groups respectfully request (1) that the Court order the Plaintiffs to respond

to the Motion to Intervene by July 29, or as quickly as the Court deems practicable, (2) that the

SUWA Groups be permitted a brief period of time to file a reply in support of the Motion to

Intervene, if they deem necessary and (3) that the Court permit the SUWA Groups to file a

response (as of right or provisionally) to Plaintiffs’ Motion for Preliminary Injunction by August

8.


Respectfully Submitted July 28, 2024


                                             /s/ Stephen Bloch
                                             Stephen Bloch
                                             Michelle White

                                             Attorneys for Proposed Defendant-Intervenors
                                             Southern Utah Wilderness Alliance and The
                                             Wilderness Society

                                             Todd Tucci (pro hac vice pending)

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